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                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:11-CR-143-BLW

                                                             ORDER
       v.

DAVID JOSEPH VONBARGEN,

               Defendant


       NOW THEREFORE IT IS HEREBY ORDERED, that the request for additional time by

the Federal Bureau of Prisons, attached to this Order, is granted. The study period shall end on

November 17, 2012, and the final report shall be submitted to the Court on or before December

3, 2012.

                                             DATED: November 1, 2012



                                             B. LYNN WINMILL
                                             Chief Judge
                                             United States District Court




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